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 ALK/SMS/SMS
 F. #2018R00369

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA                                 INDICTMENT

         - against -                                      Cr. No. 22-355 (ENV)

 HECTOR ROSARIO,                                          (T. 18, U.S.C., §§ 1001(a)(2),
                                                           1512(c)(2), 2 and 3551 et seq.)
                          Defendant.

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 THE GRAND JURY CHARGES:

                                           COUNT ONE
                                       (Obstruction of Justice)

                 1.     In or about January 2020, within the Eastern District of New York and

 elsewhere, the defendant HECTOR ROSARIO, together with others, did knowingly,

 intentionally and corruptly obstruct and impede, and attempt to obstruct and impede, an

 official proceeding, to wit: a federal grand jury investigation in the Eastern District of New

 York.

                 (Title 18, United States Code, Section 1512(c)(2), 2 and 3551 et seq.)

                                           COUNT TWO
                                         (False Statements)

                 2.     On or about January 27, 2020, within the Eastern District of New York

 and elsewhere, the defendant HECTOR ROSARIO did knowingly and willfully make one or

 more materially false, fictitious and fraudulent statements and representations in a matter

 within the jurisdiction of the executive branch of the Government of the United States, to
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 wit: the Federal Bureau of Investigation (“FBI”), in that the defendant falsely stated to

 Special Agents of the FBI that (a) he did not know the identity of John Doe, an individual

 whose identity is known to the Grand Jury, and (b) he was not familiar with the gambling

 business known as “Sal’s Shoe Repair” located in and around 41 Merrick Avenue in

 Merrick, New York, when, in fact, as ROSARIO then and there well knew and believed, he

 did know the identity of John Doe and was familiar with that gambling business.

               (Title 18, United States Code, Sections 1001(a)(2) and 3551 et seq.)
